               IN THE UNITED STATES DISTRICT COURT
    FOR THE EASTERN DISTRICT OF WISCONSIN, MILWAUKEE DIVISION


ROBERT LEE STINSON,                )
                                   )
               Plaintiff           )
                                   )          2:09 CV 01033-CNC
          vs.                      )
                                   )
THE CITY OF MILWAUKEE,JAMES        )
GAUGER, other                      )
AS-OF-YET UNKNOWN EMPLOYEES OF THE )          Judge Clevert
CITY OF MILWAUKEE, DR. LOWELL      )
T. JOHNSON, and DR. RAYMOND D.     )
RAWSON                             )
                                   )
               Defendants.         )          JURY TRIAL DEMANDED


                 PROPOSED SECOND AMENDED COMPLAINT

     NOW COMES Plaintiff, ROBERT LEE STINSON, by and through his

attorneys, LOEVY & LOEVY, and complaining of Defendants, CITY OF

MILWAUKEE, POLICE OFFICER JAMES GAUGER, OTHER AS-OF-YET UNKNOWN

EMPLOYEES OF THE CITY OF MILWAUKEE, DR. LOWELL T. JOHNSON, and

DR. RAYMOND D. RAWSON, and alleges as follows:

                             Introduction

     1.   Robert Lee Stinson was wrongfully convicted of a

murder that he did not commit.      The then-twenty-one-year-old was

forced to spend 23 years of his life falsely incarcerated and

branded as a murderer.

     2.   In violation of his right to due process of law and in

retaliation for his refusal to implicate himself and others in a

previous murder, the Defendants caused Mr. Stinson to be



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convicted of the murder based on fabricated “bitemark” evidence,

which has since been entirely discredited.

        3.      Mr. Stinson has now been completely exonerated through

DNA and other evidence.        On January 30, 2009, Mr. Stinson's

conviction was overturned and he was finally released from

prison.        The State then dismissed all the charges against Mr.

Stinson in the face of the overwhelming evidence of his

innocence.

        4.      By all accounts a quiet and gentle man, Mr. Stinson

must now attempt to make a life for himself without the benefit

of over two decades of life experiences.        This lawsuit seeks

redress for his injuries.

                           Jurisdiction and Venue

        5.      This action is brought pursuant to 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiff’s rights

as secured by the United States Constitution.

        6.      This Court has jurisdiction pursuant to 28 U.S.C. §

1331.        Venue is proper under 28 U.S.C. § 1391(b).    The events

giving rise to this complaint occurred in this judicial

district.

                                 The Parties

        7.      Robert Lee Stinson is a 45 year-old resident of

Milwaukee, Wisconsin.        Mr. Stinson was born and raised in




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Milwaukee.     Mr. Stinson is currently enrolled at Sanford-Brown

College in Milwaukee, Wisconsin.

       8.    Before his arrest and incarceration, Mr. Stinson was

living with his family and was in the process of applying for a

job.    Additionally, at that time, Mr. Stinson had little

exposure to the criminal justice system:           His only prior

conviction was a misdemeanor offense when he was 18 years old,

for which he was fined approximately $284.

       9.     James Gauger along with as-of-yet unknown Defendants

(hereinafter “Defendant Officers”), are current or former police

officers with the City of Milwaukee Police Department.              Each of

the Defendant Officers is sued in his individual capacity, and

each acted under color of law and in the scope of his employment

in engaging in the actions alleged in this Complaint.

       10.   Defendant City of Milwaukee is a municipal entity that

employs or employed the Defendant Officers, including the as-of-

yet unknown Defendants.

       11.   Defendant Dr. Lowell T. Johnson is a dentist in

Milwaukee, Wisconsin.       Defendant Dr. Raymond D. Rawson is a

dentist in Las Vegas, Nevada.         At all times relevant to this

action, Drs. Johnson and Rawson were          state actors insofar as

they were alternately, jointly engaged with the Defendant

Officers in conducting the investigation that led to Mr.

Stinson’s wrongful conviction, conspired with the Defendant


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Officers to secure Mr. Stinson’s wrongful conviction,

wereserving a public function and/or was given the authority by

the Defendant Officers to identify the perpetrator of the murder

for which Mr. Stinson was wrongfully convicted.         Defendant

Officers and Defendants Johnson and Rawson will collectively be

referred to as “Individual Defendants.”

                               The Murder

     12.     Early in the morning on November 3, 1984, the body of

63 year-old Ione Cychosz was discovered in an alley near her

home in Milwaukee.    Ms. Cychosz’s body was partially nude:             She

was dressed only in a bra and blue shirt, which had been pulled

over her head and bunched up behind her neck, as well as her

socks and one shoe.    Her body was covered in mud and leaves.

     13.     When the police found Ms. Cychosz’s body, it had

numerous bite marks on it, including on her breasts, abdomen and

pubic area.    Ms. Cychosz was also covered in bruises and

lacerations, and one of her teeth had been knocked out.

According to the medical examiner, her death was caused by

internal injuries resulting from a severe beating.

                         Police Investigation

     14.     In the days immediately following Ms. Cychosz’s death,

the police canvassed the neighborhood looking for potential

witnesses.    Among the many persons they spoke to was Robert Lee

Stinson.     Mr. Stinson explained that he was out at a party with


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friends on the night of the murder, then went to the corner

store and eventually went home to sleep.        He told the police who

he was with and the approximate time he was with them.

     15.   The police also spoke to a number of persons in the

area that they identified as potential suspects.          For example,

the police spoke with Robert Jenkins, who they located sleeping

in his car less than an hour after Ms. Cychosz’s body was found.

Mr. Jenkins could not tell the police where he had been, he had

visible scratches on his hands and he had a pair of sweatpants

in his car that had mud and leaves caked on them just as did Ms.

Cychosz’s body.

             The Wrongful Arrest of Robert Lee Stinson

     16.   On or about November 3, 1984, the Defendant Officers

contacted a local odontologist, Dr. Lowell T. Johnson, to

examine the bite marks on the victim’s body.         The Defendant

Officers met with Defendant Johnson on or about November 15,

1984, and Defendant Johnson explained his findings that the

person responsible for the bitemark had a missing upper lateral

incisor – i.e., tooth number seven.       The upper lateral incisor

is one of the upper four front teeth.

     17.   Following that meeting, the Defendant Officers began

focusing their search on persons with missing front teeth, which

Mr. Stinson had.




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        18.   Despite his lack of a criminal record, the police

decided to focus their investigation on Robert Lee Stinson.              Mr.

Stinson was an easy target.     Moreover, the Defendant Officers

were motivated to frame Mr. Stinson in retaliation for his

refusal to implicate himself and others in a previous murder

case.

        19.   Defendant Officers and the City of Milwaukee had been

seeking to prosecute Mr. Stinson’s friends in connection with a

1982 murder of Ricky Johnson.      Mr. Stinson was with his friends

at the time of the murder and was an alibi witness for them.

        20.   The police took Mr. Stinson into custody and tried to

coerce him to falsely implicate his friends and by association,

himself, in Johnson’s murder.      Mr. Stinson repeatedly told the

police that his friends could not have committed the murder

since they were all together and refused to implicate himself in

the Johnson murder.

        21.   After Mr. Stinson refused to speak with the police,

the police coerced a different man to implicate Mr. Stinson’s

friends in the Johnson murder.      That man then retracted his

statement, indicating that it was coerced and false.           As a

result, the Defendant Officers did not have enough evidence to

continue the prosecution of Mr. Stinson’s friends for the

Johnson murder and it had to be dismissed, causing embarrassment

to the Defendants.


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     22.     A year after the Johnson prosecutions were dismissed,

the Defendant Officers were assigned to investigate the Cychosz

murder, a murder that had taken place near where Mr. Stinson

lived.     The Defendant Officers used this opportunity to take

revenge on Mr. Stinson for his statements exonerating the

Johnson suspects, and for his refusal to implicate himself and

his friends in the Johnson murder and to continue speaking with

the police.

     23.     As a result, and unbeknownst to Mr. Stinson, the

Defendant Officers with the assistance of Defendant Johnson

manipulated the evidence to fit Mr. Stinson.         Although Mr.

Stinson had a strong alibi, which was corroborated by multiple

persons, the Defendant Officers secured a search warrant to take

molds of his teeth.     Other than Mr. Stinson’s twin brother, the

Defendant Officers did not request warrants to take molds of the

teeth of any of the other possible suspects.

                    The Alleged “Bitemark” Evidence

     24.     The problem, however, was that Mr. Stinson’s dentition

did not match up to Defendant Johnson’s original findings

regarding the bite marks made by the perpetrator.          As shown

below, Mr. Stinson had an intact tooth where the perpetrator had

a missing tooth, and Mr. Stinson was missing a tooth where

Defendant Johnson’s findings indicated that the perpetrator’s

tooth should be intact.


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     Figure 1: Police sketch            Figure 2: Robert Lee Stinson’s
     of perpetrator’s dentition         dentition (missing front
     (missing upper lateral             tooth)
     incisor)

     25.   Rather than continue to search for the true

perpetrator, or take dental molds of the other potential

suspects, the Individual Defendants manipulated the evidence so

that the bitemark evidence appeared to correlate with Mr.

Stinson’s dentition.    For example, Dr. Johnson issued a report

indicating that Mr. Stinson’s dentition matched that of the

person who inflicted the bitemarks on the victim to the

exclusion of all other individuals.       To buttress Dr. Johnson’s

false conclusion that the bitemarks matched Mr. Stinson’s

dentition, Defendants Officers and Dr. Johnson engaged Dr.

Rawson to confirm Dr. Johnson’s false conclusion and validate

the methods Dr. Johnson employed.       Indeed, Defendant Gauger and

Detective Jackelen flew to Las Vegas with photographs, wax molds

and models of Mr. Stinson’s dentition to have him validate Dr.

Johnson’s conclusion that the bitemark evidence implicated Mr.


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Stinson.    Dr. Rawson issued a report falsely affirming Dr.

Johnson’s conclusion as well.      The Individual Defendants’

manipulation of the evidence and the manner in which that

manipulation was undertaken was never disclosed to Mr. Stinson

or his defense team.

                          Mr. Stinson’s Trial

     26.    Mr. Stinson had a three-day trial, after which he was

found guilty of the murder of Ione Cychosz.         The only evidence

offered to tie Mr. Stinson to the murder was the manipulated

bitemark evidence.     The State could not tie Mr. Stinson to any

of the evidence located at the crime scene or to a motive and

never identified any witnesses who could place Mr. Stinson

anywhere other than where Mr. Stinson was on the night of the

murder:    at a friend’s party, at a nearby store and in his home.

     27.    Mr. Stinson testified at trial protesting his

innocence and describing his whereabouts.        Although he also

called multiple alibi witnesses to corroborate his whereabouts,

Mr. Stinson was convicted and sentenced to life in prison based

solely on the manipulated bitemark evidence.

                       Mr. Stinson’s Exoneration

     28.    Throughout his incarceration, Mr. Stinson maintained

his innocence.    With the assistance of the Wisconsin Innocence

Project, Mr. Stinson was able to secure the forensic science to

back up his claim:     He had the “bitemark” evidence re-examined


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and DNA testing done on the clothing that Ms. Cychosz was

wearing at the time she was murdered.        All of this evidence

exonerated him, and helped him prove his innocence.

     29.   As to the bitemarks, Mr. Stinson had a panel of

forensic odontologists examine the evidence that Defendant

Johnson presented at trial.      That panel determined that there

was no correlation between Mr. Stinson’s dentition and the

bitemarks found on the victim.       As such, Mr. Stinson was

excluded as a possible suspect.

     30.   DNA testing done on various items of Ms. Cychosz’s

clothing similarly exonerated Mr. Stinson.         The Wisconsin Crime

Laboratory found a consistent male DNA profile on four separate

areas of the victim’s pullover.       Testing on other cuttings

revealed mixture profiles consisting of male DNA from at least

four different men.    Mr. Stinson was conclusively excluded as a

source of any of the male DNA profiles that were generated.

     31.   With the new bitemark and DNA evidence, Mr. Stinson

petitioned for a new trial.      The Milwaukee District Attorney’s

office agreed that the bitemark and DNA evidence invalidated his

conviction and joined the petition.

     32.   On or about January 30, 2009, the circuit court

vacated Mr. Stinson’s conviction and sentence.          He was released

from the Lisbon Correctional Center later that day.




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     33.     On or about July 27, 2009, the State dismissed all

charges against Mr. Stinson in a manner indicative of his

innocence.

     34.     In the spring of 2010, the State was able to make a

positive identification of the DNA evidence with real murderer,

Mr. Moses Price.

     35.     Mr. Price subsequently confessed to the crime.

     36.     In his confession, Mr. Price admitted to carrying a

bottle of alcohol with him, which is consistent with the

evidence obtained from the crime scene.        Specifically, an

alcohol bottle was collected and inventoried as evidence.

However, Defendant Officers either failed to attempt to collect

fingerprints and/or DNA from the alcohol bottle, or,

alternatively, Defendant Officers attempted and matched the

fingerprints to Moses Price but then destroyed the results.               On

information and belief, the Milwaukee Police Department obtained

Price’s fingerprints around the time of the murder and

sufficiently in advance of Mr. Stinson’s criminal trial.

     37.     In addition, Mr. Price stated that he has a space

between his two front teeth.

     38.     Although Mr. Price was convicted of arson and murder

and sentenced to 35 years’ imprisonment in 1991, it was not

until sometime in 2009 that the State obtained a DNA sample from

Mr. Price.


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                         Mr. Stinson’s Damages

     39.     Mr. Stinson spent 23 years in prison for a crime that

he did not commit.    Mr. Stinson must now attempt to make a life

for himself outside of prison without the benefit of over two

decades of life experiences, which normally equip adults for

that task.

     40.     Additionally, the emotional pain and suffering caused

by losing 23 years in the prime of his life has been

substantial.    During his wrongful incarceration, Mr. Stinson was

stripped of the various pleasures of basic human experience,

from the simplest to the most important, which all free people

enjoy as a matter of right.      He missed out on the ability to

share holidays, births, funerals and other life events with

loved ones, the opportunity to fall in love, marry and to raise

a family, to pursue a career, and the fundamental freedom to

live one’s life as an autonomous human being.

     41.     As a result, Mr. Stinson has suffered tremendous

damage, including extreme emotional distress, physical suffering

and financial loss.

                      Count I -- 42 U.S.C. § 1983

                               Due Process

     42.     Each of the paragraphs of this Complaint is

incorporated as if restated fully herein.




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     43.   As described more fully above, all of the Individual

Defendants, while acting individually, jointly and in

conspiracy, as well as under color of law and within the scope

of their employment, deprived Plaintiff of his constitutional

right to a fair trial.

     44.   In the manner described more fully above, the

Individual Defendants deliberately withheld exculpatory

evidence, as well as fabricated false reports and other

evidence, thereby misleading and misdirecting the criminal

prosecution.    Absent the totality of this misconduct, the

prosecution of Plaintiff could not and would not have been

pursued.

     45.   The Individual Defendants’ misconduct directly

resulted in the unjust criminal conviction of Plaintiff, thereby

denying him his constitutional right to a fair trial, and a fair

appeal thereof, in violation of the Due Process Clause of the

Fifth and Fourteenth Amendments to the United States

Constitution.

     46.   As a result of this violation of his constitutional

right to a fair trial, Plaintiff suffered injuries, including

but not limited to emotional distress, as is more fully alleged

above.

     47.   The Defendant Officers’ misconduct, as described in

this Count was objectively unreasonable and was undertaken


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intentionally with willful indifference to Plaintiff’s

constitutional rights.

     48.   Defendants Johnson’s and Rawson’s misconduct, as

described in this Count, was objectively unreasonable and was

undertaken with deliberate indifference to Plaintiff’s

constitutional rights.     In the alternative, Defendants Johnson’s

and Rawson’s misconduct was undertaken intentionally with

willful indifference to Plaintiff’s constitutional rights.

     49.   The misconduct described in this Count was undertaken

pursuant to the policy and practice of the Milwaukee Police

Department to pursue wrongful convictions through profoundly

flawed investigations and coerced evidence.         In this way, the

Defendant City of Milwaukee violated Plaintiff’s rights by

maintaining policies and practices that were the moving force

driving the foregoing constitutional violations.

     50.   These widespread practices, so well-settled as to

constitute de facto policy in the Milwaukee Police Department,

were able to exist and thrive because municipal policymakers

with authority over the same exhibited deliberate indifference

to the problem, thereby effectively ratifying it.

     51.   The widespread practices described in the preceding

paragraphs were allowed to flourish because the City declined to

implement sufficient training and/or any legitimate mechanism

for oversight or punishment.


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                     Count II – 42 U.S.C. § 1983

                     First Amendment Retaliation

     52.   Each of the paragraphs of this Complaint is

incorporated as if restated fully herein.

     53.   In retaliation for Plaintiff’s statements in

connection with the Johnson murder and his refusal to implicate

himself and his friends, Defendant Officers targeted Plaintiff

for the Cychosz murder without probable cause to believe that

Plaintiff committed that crime.

     54.   In fact, the only evidence that the Defendant Officers

claim tied Plaintiff to the Cychosz murder was bitemark

evidence, which could not possibly have come from Mr. Stinson

and which no reasonably prudent person could have believed could

come from Mr. Stinson.

     55.   Defendant Officers intentionally misrepresented the

nature of this evidence to create a false appearance of probable

cause.

     56.   As a result of this violation of his First Amendment

constitutional rights, Plaintiff suffered injuries, including

but not limited to emotional distress, as is more fully alleged

above.

     57.   The Defendant Officers’ misconduct, as described in

this Count was objectively unreasonable and was undertaken




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intentionally with willful indifference to Plaintiff’s

constitutional rights.

     58.   The misconduct described in this Count was undertaken

pursuant to the policy and practice of the Milwaukee Police

Department to pursue wrongful convictions through retaliation,

profoundly flawed investigations and coerced evidence.           In this

way, the Defendant City of Milwaukee violated Plaintiff’s rights

by maintaining policies and practices that were the moving force

driving the foregoing constitutional violations.

     59.   These widespread practices, so well-settled as to

constitute de facto policy in the Milwaukee Police Department,

were able to exist and thrive because municipal policymakers

with authority over the same exhibited deliberate indifference

to the problem, thereby effectively ratifying it.

     60.   The widespread practices described in the preceding

paragraphs were allowed to flourish because the City declined to

implement sufficient training and/or any legitimate mechanism

for oversight or punishment.

                    Count III – 42 U.S.C. § 1983

                     Fifth Amendment Retaliation

     61.   Each of the paragraphs of this Complaint is

incorporated as if restated fully herein.

     62.   In retaliation for Plaintiff’s invocation of his right

to remain silent, Defendants targeted Plaintiff for the Cychosz


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murder without probable cause to believe that Plaintiff

committed that crime.

     63.   As a result of this violation of his First Amendment

constitutional rights, Plaintiff suffered injuries, including

but not limited to emotional distress, as is more fully alleged

above.

     64.   The Defendant Officers’ misconduct, as described in

this Count was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff’s

constitutional rights.

     65.   The misconduct described in this Count was undertaken

pursuant to the policy and practice of the Milwaukee Police

Department to pursue wrongful convictions through retaliation,

profoundly flawed investigations and coerced evidence.           In this

way, the Defendant City of Milwaukee violated Plaintiff’s rights

by maintaining policies and practices that were the moving force

driving the foregoing constitutional violations.

     66.   These widespread practices, so well-settled as to

constitute de facto policy in the Milwaukee Police Department,

were able to exist and thrive because municipal policymakers

with authority over the same exhibited deliberate indifference

to the problem, thereby effectively ratifying it.

     67.   The widespread practices described in the preceding

paragraphs were allowed to flourish because the City declined to


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implement sufficient training and/or any legitimate mechanism

for oversight or punishment.

                     Count IV - 42 U.S.C. § 1983

                         Failure to Intervene

     68.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     69.   In the manner described above, during the

constitutional violations described above, one or more of the

Individual Defendants stood by without intervening to prevent

the misconduct.

     70.   These Individual Defendants had a reasonable

opportunity to prevent this harm, but failed to do so.

     71.   As a result of the Individual Defendants’ misconduct,

Plaintiff suffered injuries, including but not limited to

emotional distress, as is more fully alleged above.

     72.   The Defendant Officers’ misconduct, as described in

this Count, was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff’s

constitutional rights.

     73.   Defendants Johnson’s and Rawson’s misconduct, as

described in this Count, was objectively unreasonable and was

undertaken with deliberate indifference to Plaintiff’s

constitutional rights. In the alternative, Defendants Johnson’s




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and Rawson’s misconduct was undertaken intentionally with

willful indifference to Plaintiff’s constitutional rights.

     74.   The misconduct described in this Count was undertaken

pursuant to the City of Milwaukee’s policy and practice in the

manner described in the preceding paragraphs.

                     Count V -- 42 U.S.C. § 1983

            Conspiracy to Deprive Constitutional Rights

     75.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     76.   After the murder at issue, the Individual Defendants

reached an agreement amongst themselves to frame Plaintiff for

the crime, and to thereby deprive Plaintiff of his

constitutional rights, all as described in the various

Paragraphs of this Complaint.

     77.   Independently, before and after Plaintiff’s

conviction, each of the Individual Defendants further conspired,

and continues to conspire, to deprive Plaintiff of exculpatory

materials to which he was lawfully entitled and which would have

led to his more timely exoneration of the false charges as

described in the various Paragraphs of this Complaint.

     78.   In this manner, the Individual Defendants, acting in

concert with other unknown co-conspirators, including persons

who are not members of the Milwaukee Police Department, have




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conspired by concerted action to accomplish an unlawful purpose

by an unlawful means.

     79.   In furtherance of the conspiracy, each of the co-

conspirators committed overt acts and was an otherwise willful

participant in joint activity.

     80.   As a direct and proximate result of the illicit prior

agreement referenced above, Plaintiff’s rights were violated,

and he suffered financial damages, as well as severe emotional

distress and anguish, as is more fully alleged above.

     81.   The Defendant Officers’ misconduct, as described in

this Count was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff’s

constitutional rights.

     82.   Defendants Johnson’s and Rawson’s misconduct, as

described in this Count, was objectively unreasonable and was

undertaken with deliberate indifference to Plaintiff’s

constitutional rights. In the alternative, Defendant Johnson’s

and Rawson’s misconduct was undertaken intentionally with

willful indifference to Plaintiff’s constitutional rights.

     83.   The misconduct described in this Count was undertaken

pursuant to the policy and practice of the Milwaukee Police

Department in the manner described more fully in preceding

paragraphs, and was tacitly ratified by policymakers for the

Defendant City of Milwaukee with final policymaking authority.


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       84.   As a result of this violation, Plaintiff suffered

injuries, including but not limited to emotional distress, as is

more fully alleged above.

                       Count VI -- 42 U.S.C. § 1983

                            Supervisor Liability

       85.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

       86.   The constitutional injuries complained of herein were

proximately caused by a pattern and practice of misconduct,

which occurred with the knowledge and consent of those of the

Defendant Officers who acted in a supervisory capacity, such

that these officers personally knew about, facilitated,

approved, and/or condoned this pattern and practice of

misconduct, or least recklessly caused the alleged deprivation

by their actions or by their deliberately indifferent failure to

act.

       87.   The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.

       88.   The misconduct described in this Count was undertaken

pursuant to the City’s policy and practice in the manner more

fully described above.




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     89.   As a result of this violation, Plaintiff suffered

injuries, including but not limited to emotional distress, as is

more fully alleged above.

                      Count VII – State Law Claim

                    Intentional Misrepresentation

     90.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     91.   Defendant Gauger, other unknown Defendant Officers and

Defendants Johnson and Rawson made representations to the police

and/or prosecution that Mr. Stinson’s dentition matched that of

the perpetrator to the exclusion of all other suspects.

     92.   Defendant Gauger’s, unknown Defendant Officers’ and

Defendants Johnson’s and Rawson’s statements were not true, but

the police and/or prosecution relied on them nevertheless to

prosecute and convict Mr. Stinson of the murder of Ione Cychosz.

     93.   Defendants Gauger, unknown Defendant Officers and

Defendants Johnson and Rawson knew that their statements

regarding the purported match between Mr. Stinson’s dentition

and perpetrator’s dentition were untrue and/or they were

reckless in making these representations.

     94.   In addition, in making these representations,

Defendants Gauger, other unknown Defendant Officers and

Defendants Johnson and Rawson intended to deceive the police

and/or prosecution.


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     95.   As a result of these misrepresentations, Plaintiff

suffered injuries, including but not limited to emotional

distress, as is more fully alleged above.

                    Count VIII – State Law Claim

                     Negligent Misrepresentation

     96.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     97.   As described more fully above, Defendants Gauger,

unknown Defendant Officers and Defendants Johnson and Rawson

made representations to the police and/or prosecution that Mr.

Stinson’s dentition matched that of the perpetrator to the

exclusion of all other suspects.

     98.   Defendant Gauger’s, unknown Defendant Officers’ and

Defendants Johnson’s and Rawson’s statements were not true, but

the police and/or prosecution relied on them nevertheless to

prosecute and convict Mr. Stinson of the murder of Ione Cychosz.

     99.   As a result of these misrepresentations, Plaintiff

suffered injuries, including but not limited to emotional

distress, as is more fully alleged above.



                      Count IX – State Law Claim

            Negligent Infliction of Emotional Distress

     100. Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.


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     101. In the manner described more fully above, by

manipulating the bitemark evidence to inculpate Plaintiff,

Defendant Gauger, unknown Defendant Officers and Defendants

Johnson and Rawson caused Plaintiff severe emotional distress.

     102. In doing so, Defendant Gauger’s, unknown Defendant

Officers’ and Defendants Johnson’s and Rawson’s conduct fell

below the applicable standard of care and was the cause-in-fact

of Plaintiff’s injuries.

     103. As a result of Defendants Gauger’s,ohnson’s and

Rawson’s conduct, Plaintiff suffered injuries, including severe

emotional distress, as is more fully alleged above.

                      Count X – State Law Claim

           Intentional Infliction of Emotional Distress

     104. Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     105. In the manner described more fully above, by

wrongfully inculpating Plaintiff in a crime he did not commit,

Defendant Gauger, unknown Defendant Officers and Defendants

Johnson and Rawson intended to cause emotional distress.

     106. In doing so, Defendant Gauger’s, unknown Defendant

Officers’ and Defendants Johnson’s and Rawson’s conduct was

extreme and outrageous and caused Plaintiff severe, disabling

emotional distress.




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     107. The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.

     108. As a result of this misconduct, Plaintiff sustained

injuries, including emotional pain and suffering, as is more

fully alleged above.

                       Count XI– State Law Claim

                         Malicious Prosecution

     109. Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     110. Defendant Gauger, unknown Defendant Officers and

Defendants Johnson and Rawson caused Plaintiff to be improperly

subjected to judicial proceedings for which there was no

legitimate probable cause.      These judicial proceedings were

instituted and continued maliciously, resulting in injury, and

all such proceedings were ultimately terminated in Plaintiff’s

favor in a manner indicative of innocence.

     111. Defendant Gauger, unknown Defendant Officers and

Defendants Johnson and Rawson accused Plaintiff of criminal

activities knowing those accusations to be without genuine

probable cause, and made statements to the police and/or

prosecutors with the intent of exerting influence to institute

and continue the judicial proceedings.




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     112. Defendant Gauger, unknown Defendant Officers and

Defendants Johnson and Rawson also fabricated evidence and

withheld the manner in which that evidence was fabricated

     113. The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the

rights of others.

     114. As a result of this misconduct, Plaintiff sustained

injuries, including emotional pain and suffering, as more fully

alleged above.

                     Count XII – State Law Claim

                            Indemnification

     115. Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

     116. Wisconsin law provides that public entities are

directed to pay any tort judgment for compensatory damages for

which employees are liable within the scope of their employment

activities.

     117. The Defendant Officers are or were employees of the

Milwaukee Police Department, and acted within the scope of their

employment in committing the misconduct described herein.

     118. In addition, Dr. Lowell T. Johnson was an agent of the

Milwaukee Police Department, and acted within the scope of his

agency in committing the misconduct described herein.




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     WHEREFORE, Plaintiff, ROBERT LEE STINSON, respectfully

requests that this Court enter judgment in his favor and against

the Defendants, CITY OF MILWAUKEE, , JAMES GAUGER and OTHER AS-

OF-YET UNKNOWN EMPLOYEES OF THE CITY OF MILWAUKEE, DR. LOWELL T.

JOHNSON, and DR. RAYMOND D. RAWSON and awarding compensatory

damages, costs and attorneys’ fees, along with punitive damages

against each of the Individual Defendants in their individual

capacities along with whatever additional relief this Court

deems appropriate.



                               JURY DEMAND

     Plaintiff, ROBERT LEE STINSON, hereby demands a trial by

jury pursuant to Fed. R. Civ. P. 38(b) on all issues so triable.



                                        RESPECTFULLY SUBMITTED,


                                        /s/Gayle Horn_________



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